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                IN THE UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

 FREDERICK T. RAY, III,           :
                        Plaintiff :
                                  :              No. 20-CV-1697
              v.                  :
                                  :              (Judge Mannion)
 PAMELA MCDONALD, LOUISE          :
 CICERCHIA, MR. KILHEENEY,        :
 KELLY MCANDREWS, CAPTAIN         :              Electronically Filed Document
 BROZOWSKI, DEPUTY MILLER,        :
 CAPTAIN LUKASHENSKI,             :
 MICHAEL GOYNE, MAJOR JASON :
 BOHINSKI, DEPUTY CRONAUER, :
 MARY JO MATHER, KEVIN            :
 RANSOM and JOHN/JANE DOES,       :
                     Defendants :

      DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION FOR
                   FAILURE TO PROSECUTE
      Defendants, through counsel, hereby file this Brief in Support of their

Motion for Failure to Prosecute, pursuant to Local Rule 7.5. This Court should

dismiss Plaintiff’s Complaint due to Plaintiff’s failure to prosecute pursuant to

Rule 41(b) of the Federal Rules of Civil Procedure.

              RELEVANT FACTS & PROCEDURAL HISTORY

      Plaintiff filed his Complaint, pursuant to 42 U.S.C. § 1983, on August 20,

2020. (Doc. 1-2.) Defendants removed this case to this Court on September 18,

2020. (Doc. 1.) At that time, Plaintiff was a pro se inmate in the custody of the

Pennsylvania Department of Corrections housed at SCI Dallas. (Doc. 1-2.)
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      The Clerk of Court informed that “[he has] the affirmative obligation to keep

the court informed of his or her current address. If the plaintiff[] changes his or her

address while the lawsuit is being litigated, the plaintiff[] shall immediately inform

the court of the change, in writing.” (Doc. 2.) Plaintiff previously filed a Notice of

Change of Address. (Doc. 13.) Plaintiff has not filed any documents in the above-

captioned matter since April 6, 2022. (See Doc. 38.)

      Undersigned counsel was informed that Plaintiff completed his sentence and

was released from DOC custody on April 20, 2022. A search for Plaintiff’s first

and last name or inmate number on the DOC’s “Inmate Locator” webpage does not

return any results. See http://inmatelocator.cor.pa.gov/#/ (“Frederick Ray” or

“MP1518”, accessed February 9, 2023).

      After investigation, Plaintiff’s address was confirmed to be at Good

Samaritan Services, 135 High Street, Phoenixville, PA 19460. (Ex. 1.)1

Undersigned counsel sent correspondence to Plaintiff on November 2, 2022, at the

aforementioned address to schedule his deposition for this matter. (Ex. 2.) This

letter was not returned to sender as undeliverable.




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      Defendants’ exhibits cited herein are attached to their Motion for Failure to
Prosecute. In the interests of judicial economy, Defendants’ do not re-file those
items herein.

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      Undersigned counsel sent correspondence to Plaintiff on November 29,

2022, at the aforementioned address to schedule his deposition for this matter. (Ex.

3.) This letter was not returned to sender as undeliverable.

      On December 22, 2022, undersigned counsel sent a Notice of Deposition to

Plaintiff noticing his deposition to be held over Zoom, a video conferencing

service, on December 30, 2022, both to the above notated address as well as to the

address provided by Plaintiff to the Court. (Ex. 4.) This Notice of Deposition sent

to the above referenced address was not returned to sender as undeliverable. This

Notice of Deposition sent to the address provided by Plaintiff to the Court was

returned to sender as undeliverable. (Ex. 5)

      Plaintiff contacted undersigned counsel via telephone on December 29,

2022, indicating that he would not be attending the previously noticed December

30, 2022 deposition. (Ex. 6.) In response, undersigned counsel sent Plaintiff a

letter on December 29, 2022, requesting that he contact her to schedule a

deposition. (Id.) This letter was not returned to sender as undeliverable.

      To present date, Plaintiff has not contacted undersigned counsel. To present

date, Plaintiff has not filed any item in the above-captioned litigation.




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                                ISSUES PRESENTED

       Whether Plaintiff’s Complaint should be dismissed because he has failed to

prosecute his case?

       Suggested Answer: Yes.

                                     ARGUMENT

       Rule 41(b) of the Federal Rules of Civil Procedure permits a District Court to

dismiss a Plaintiff’s civil action “[i]f the plaintiff fails to prosecute or to comply with

[the] rules or a court order.” Fed. R. Civ. P. 41(b). Such a dismissal constitutes a

dismissal on the merits. Id. Courts balance the following factors when considering

a request to dismiss a case pursuant to Rule 41(b):

                i.    The extent of the party’s personal responsibility;

               ii.    The extent of prejudice to the adversary caused by the failure to
                      meet scheduling orders and respond to discovery;

              iii.    A history of dilatoriness;

              iv.     Whether the conduct of the party or the attorney was willful or
                      in bad faith;

               v.     The effectiveness of sanctions other than dismissal, which entails
                      an analysis of alternative sanctions; and

              vi.     The meritoriousness of the claim or defense.

Poulis v. State Farm Fire & Casualty Co., 747 F.2d 863, 868 (3d Cir. 1984). Not

all of the aforementioned factors need to be satisfied for the trial court to dismiss a


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complaint. Ware v. Rodale Press. Inc., 322 F.3d 218, 221 (3d Cir. 2003); see also

Hicks v. Feeney, 850 F.2d 152, 156 (3d Cir. 1988). As such, Defendants discuss

only the relevant factors herein.

       Clerk of Court informed that “[he has] the affirmative obligation to keep the

court informed of his or her current address. If the plaintiff[] changes his or her

address while the lawsuit is being litigated, the plaintiff[] shall immediately inform

the court of the change, in writing.” (Doc. 2.) Plaintiff previously filed a Notice of

Change of Address. (Doc. 13.) Plaintiff has not filed any documents in the above-

captioned matter since April 6, 2022. (See Doc. 38.)

       Plaintiff is proceeding pro se; therefore, he is personally responsible for his

failure to comply with the Federal and Local Rules and Court’s order to notify the

Court of any changes to his address. In fact, no one else can be responsible.

Plaintiff’s failure to respond to the undersigned counsel’s several correspondences

is clearly willful.

       Even assuming, arguendo, that Plaintiff did not receive the undersigned’s

correspondences, he has failed to provide an updated address to the Court and

undersigned counsel. This failure is, likewise, willful.

       Plaintiff is well familiar with the requirement to notify the Court of a change

in address. In accordance with the Clerk of Court’s instruction, Plaintiff complied




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by filing a Notice of Change of Address on November 2, 2020. and March 9, 2018.

(See Doc. 13.)

      Undersigned counsel was informed that Plaintiff completed his sentence and

was released from DOC custody on April 20, 2020. A search for Plaintiff’s first and

last name or inmate number on the DOC’s “Inmate Locator” webpage does not

return any results for Plaintiff. See http://inmatelocator.cor.pa.gov/#/ (“Frederick

Ray” or “MP1518”, last accessed February 9, 2023). Mail to Plaintiff at his address

he provided to the Court was returned as undeliverable on January 31, 2023. Plaintiff

has not filed any documents in this action since April 26, 2022. See Docket. Plaintiff

has not filed a Notice of Change of Address with the Court. Nor has Plaintiff

contacted the undersigned as requested numerous times through numerous

correspondences.

      Plaintiff’s failure to be deposed, to file a notice of change of address, or to

otherwise communicate regarding the case causes prejudice to Defendants. Since

Plaintiff cannot be contacted, Defendant is unable to depose Plaintiff.          It is

impossible for Defendants to identify relevant witnesses and exhibits that will be

relied upon to defend this action without knowing what evidence Plaintiff has in his

possession and without being able to depose him regarding his claims. Defendants

submit that, because the events giving rise to this lawsuit occurred beginning in

December 2019, further delay will prejudice his ability to defend himself due to “the



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inevitable dimming of witnesses’ memories.” Bull v. UPS, 665 F.3d 68, 80 (3d Cir.

2012).

      Defendants submit that dismissal of Plaintiff’s case is the only sanction

available under the circumstances. Plaintiff is proceeding pro se and in forma

pauperis; therefore, there are no other appropriate sanctions other than dismissal.

See Riley v. Sec’y Pennsylvania Dep’t of Corr., 536 F.App’x 222, *4 (3d Cir. Aug.

29, 2013); see also Briscoe v. Klaus, 538 F.3d 252, 262-263 (3d Cir. 2008). Since

Plaintiff has demonstrated his willful lack of interest in proceeding further by failing

to respond to undersigned counsel or to be deposed, and has failed to notify the Court

or undersigned counsel of his new address, his case should be dismissed.

      Therefore, the Court should dismiss the case with prejudice due to Plaintiff’s

failure to prosecute this action.

                                    CONCLUSION
      Defendant respectfully requests that this Court dismiss Plaintiff’s Complaint

with prejudice due to his failure to prosecute this action.




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                                       Respectfully submitted,

                                       MICHELLE A. HENRY
                                       Acting Attorney General


                                 By:   s/ Mary Katherine Yarish
                                       MARY KATHERINE YARISH
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                                       Civil Litigation Section
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Date: February 9, 2023                 Counsel for Defendants Ransom,
                                       McDonald, Cierchia, Kilheeney,
                                       McAndrew, Brozowski, Miller,
                                       Cronauer, Goyne, Bohinski, and
                                       Lukashewski




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                       Plaintiff :
                                 :              No. 20-CV-1697
            v.                   :              (Judge Mannion)
                                 :
 PAMELA MCDONALD, et al.,        :              Electronically Filed Document
                                 :
                   Defendants :

                         CERTIFICATE OF SERVICE
      I, Mary Katherine Yarish, Deputy Attorney General for the Commonwealth

of Pennsylvania, Office of Attorney General, hereby certify that on February 10,

2023, I caused to be served a true and correct copy of the foregoing document titled

Defendants’ Motion to Dismiss for Failure to Prosecute to the following:

 VIA U.S. MAIL:
 Smart Communications/PADOC
 Frederick T. Ray, III                        Frederick T. Ray
 SCI-Phoenix                                  Good Samaritan Services
 P.O. Box 33028                               135 High Street
 St. Petersburg, FL 33733                     Phoenixvile, PA 19460
 Pro Se Plaintiff                             Pro Se Plaintiff




                                           s/ Mary Katherine Yarish
                                          MARY KATHERINE YARISH
                                          Deputy Attorney General
